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DEFENDANTS' EXHIBIT 7

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€U §§ i [| Larina Hintze <|arinahintze@gmai|.com>

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RE: Semester Wrap Up

 

James,Christopher <christopher.james@warrington.ufl.edu> Tue, l\/lay 1, 2012 at 4:02 AM

To: Larina Hintze <|arinahintze@gmai|.com>

Keep the faith. You understand that the repayment of the advance is going right back in once We have the other

funding set up. 1 think its important to let Kevin and the others know What the results are and that I insisted on
repayment of the advance (the idea being is if they think there is any $ in TZ they Will go after it). With that

thought in mind, When structuring the buyout, pay off everyone prorate and then We’ll but it back in. Otherwise

I Worry that the other investors Will say Why don’t We split the payout among ourselves What do you think?

From: Larina Hintze [mailto:larinahintze@gmail.com]

Sent: Monday, April 30, 2012 6:01 PM

To: James,Christopher; Greer,Creed C,III; Bphintze@bel|south.net
Subject: Semester Wrap Up

As expected once We refund the ClVlJ payroll advance and then meet our own 5/1 payroll We have wiped out final
revenues - we Will have to defer some of our operating expenses

We will hold the rent check specifically as we have about a $6k shortfall. We have some straggling revenue like
an invoice out to Bill's Bookstore.

We will have to have everything worked out and funds in our account by 5/13/12 in order to make the next
payroll. So that is our drop dead deadline.

Until then we just defer some bills and we will be fine - relatively speaking :-)
Reports are forthcoming

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Exhibit 7.page l

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